           Case 5:22-cv-06483-PCP Document 93 Filed 05/13/24 Page 1 of 7



 1
     AMIN WASSERMAN GURNANI, LLP
 2   George Spatz, pro hac vice
     Manon Burns, Bar No. 347139
 3   549 W. Randolph St., Ste. 400
     Chicago, IL 60661
 4   Tel: (312) 466-1033
     Fax: (312) 884-7352
 5   gspatz@awglaw.com
     mburns@awglaw.com
 6
     Attorneys for Defendant
 7   LIFEFORCE DIGITAL INC.

 8
                                   UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10

11   THRESHOLD ENTERPRISES LTD., a                         Case No.: 5:22-cv-06483-PCP
     Delaware corporation,
12                                                         LDI’S MOTION IN LIMINE NO. 1 TO
                           Plaintiff,                      EXCLUDE TESTIMONY OF
13                                                         PLAINTIFF’S WITNESSES REGARDING
             v.                                            CONSUMER PERCEPTION OF GOOGLE
14                                                         SEARCH RESULTS
     LIFEFORCE DIGITAL INC., a Delaware
15   corporation,

16                         Defendant.

17

18

19
                                             INTRODUCTION
20
            Defendant Lifeforce Digital Inc. (“LDI”) hereby moves in limine for an Order to exclude the
21
     testimony of Plaintiff’s fact witnesses regarding consumer perception and performing alleged
22
     undocumented Google searches as evidence of likely confusion of consumers under FRE 702, 602,
23
     and 802. As an initial matter, Plaintiff did not produce an affirmative expert on consumer
24
     perception. Nonetheless, Plaintiff has attempted to insert affirmative expert opinions regarding
25
     consumer perception through its fact witnesses. Any such fact testimony purporting to opine about
26
     consumer perception, actual confusion, and likelihood of confusion should be excluded.
27
     Furthermore, testimony regarding Plaintiff’s belief of consumer perception of Google results, and
28
     accordingly any testimony regarding what Plaintiff’s fact witnesses may have been told by

                                                     -1-
          LDI’S MOTION IN LIMINE TO EXCLUDE TESTIMONY REGARDING CONSUMER PERCEPTION
           Case 5:22-cv-06483-PCP Document 93 Filed 05/13/24 Page 2 of 7



 1   consumers, is hearsay and lacks foundation. As to Plaintiff’s expert, he admits that he did no testing

 2   for confusion associated with Google searches. Therefore, any testimony by Plaintiff regarding

 3   these topics should be excluded.

 4                                               ARGUMENT

 5          A. Plaintiff’s Fact Witnesses are not Experts and are not Qualified to Opine on

 6                 Consumer Perception and Likelihood of Confusion.

 7          Pursuant to FRE 702 and Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993), any

 8   testimony regarding consumer perception and the likelihood of confusion by Plaintiff’s fact

 9   witnesses must be excluded. They are simply not qualified to opine on consumer perception and the

10   ultimate determination of a likelihood of confusion. Nonetheless, Plaintiff’s witnesses have made

11   bald assertions and provided subjective speculation and purely legal conclusions, which misstate the

12   law and merely tell the jury what result it should reach.

13          All of Plaintiff’s witnesses were disclosed as a fact witnesses in Plaintiff’s initial

14   disclosures. See Declaration of George Spatz (“Spatz Decl.”), Ex. A. No one was disclosed as an

15   expert, nor did Plaintiff submit an affirmative expert report on their behalf. Each of Plaintiff’s fact

16   witnesses explained their educational and employment histories during their respective depositions,

17   and none of them have any training or experience necessary to submit expert opinions on consumer

18   perception.

19          Mr. Sugarman, Threshold’s Director of Regulatory, Corporate, and Technical Affairs,

20   earned a Bachelor of Science in engineering from Cal. State Northridge. Spatz Decl., Ex. B

21   (Deposition Transcript of Barry Sugarman (“Sugarman Dep.”)), 10:16-17. In his role at Threshold

22   Enterprises, he is involved with a number of departments, including primarily “quality, R and D,

23   legal regulatory.” Sugarman Dep., 13:18-19. In addition, he is involved with sales and marketing.

24   Sugarman Dep., 13:20-21. Mr. Sugarman does not have any training or education in consumer

25   perception or market research. Mr. Cayton, Threshold’s Director of Corporate Development, earned

26   a Bachelor of Science in industrial labor relations at Cornell University and a J.D. at the University

27   of Santa Clara Law. Spatz Decl., Ex. C (Deposition Transcript of Brian Cayton (“Cayton Dep.”)),

28   8:5-8. In his role at Threshold, Mr. Cayton served as a salesperson and national sales manager,


                                                      -2-
          LDI’S MOTION IN LIMINE TO EXCLUDE TESTIMONY REGARDING CONSUMER PERCEPTION
           Case 5:22-cv-06483-PCP Document 93 Filed 05/13/24 Page 3 of 7



 1   leaving the company and later returning to focus on GMP compliance and strategic initiatives.

 2   Cayton Dep., 11:13-15:21. When he practiced as an attorney, Mr. Cayton focused on family,

 3   business, and real estate law. Cayton Dep., 9:15-10:16. Mr. Cayton does not have any training or

 4   education in consumer perception or market research. Mr. Goldberg, Threshold’s President,

 5   received a degree in political science at Brooklyn College. Spatz Decl., Ex. D (Deposition

 6   Transcript of Ira Goldberg (“Goldberg Dep.”)), 8:4-11. In his role at Threshold, Mr. Goldberg leads

 7   the company, but primarily oversees the company’s finances, research and development, and editing

 8   marketing materials. Goldberg Dep., 16:4-17:8. Mr. Goldberg does not have any training or

 9   education in consumer perception or market research. Accordingly, none of Plaintiff’s fact

10   witnesses possess any expertise in the field.

11          However, even if any of Plaintiff’s fact witness had expertise in the relevant field (they do

12   not), “legal conclusions are not a proper subject for expert testimony.” Black v. Irving Materials,

13   Inc., No. 17-CV-06734-LHK, 2019 U.S. Dist. LEXIS 243303, at *7 (N.D. Cal. May 29, 2019);

14   Pinal Creek Grp. v. Newmont Mining Corp., 352 F. Supp. 2d 1037, 1043 (D. Ariz. 2005) (“The

15   Ninth Circuit has [] excluded legal expert testimony concerning both what the law is and how it

16   should be applied to the facts of a case”).

17          During his deposition, when asked by LDI’s counsel regarding whether or not he was aware

18   of actual confusion between the trademarks, Mr. Sugarman provided the following testimony:

19          Q. Okay. Similarly, are you aware of any instances of confusion between
            Threshold and the defendant, Lifeforce Digital, from end consumers?
20

21          A. I haven’t had any specific complaints, but I’ve gone on Google myself in the
            last few days and I put in Life Force in various different presentations and I've
22          noticed that the defendant’s images, website, and information come up right
            alongside ours.
23
            Q. Okay. Are you aware of any confusion from consumers regarding Threshold and
24
            Lifeforce Digital?
25
            A. We don’t speak to consumers directly unless they call in. So there may be
26          confusion. I would say there’s a likelihood of confusion based on what I’m
            seeing. I haven't --
27
            Q. Are you aware of any actual confusion, instances of actual confusion between
28
            Threshold and Lifeforce Digital?

                                                     -3-
          LDI’S MOTION IN LIMINE TO EXCLUDE TESTIMONY REGARDING CONSUMER PERCEPTION
           Case 5:22-cv-06483-PCP Document 93 Filed 05/13/24 Page 4 of 7



 1
            A. I personally have never seen a complaint like that, but I think it’s highly likely
 2          that there would be consumer confusion because of what I saw just as recently as
            yesterday or the day before.
 3
     Sugarman Dep., 157:4-24. In other words, Mr. Sugarman opines on consumer perception of his own
 4
     Google search results, as well as the ultimate question of whether there is a likelihood of confusion
 5
     between the marks. Despite admitting to having no personal knowledge of actual consumer
 6
     confusion, Mr. Sugarman nevertheless opines that “there’s a likelihood of confusion based on what
 7
     I’m seeing,” Sugarman Dep., 157:15-16, and “I think it’s highly likely that there would be
 8
     consumer confusion because of what I saw,” Sugarman Dep., 157:22-23. Mr. Cayton and Mr.
 9
     Goldberg both testified that they were not aware of any instances of consumer confusion. Cayton
10
     Dep., 94:19-96:8; Goldberg Dep., 49:11-50:3.
11
            Mere industry experience is not enough to qualify Mr. Sugarman as expert in consumer
12
     perception. Brighton Collectibles, Inc. v. Renaissance Grp. Int’l, No. 06-CV-1115 H (POR), 2008
13
     U.S. Dist. LEXIS 39707, at *10 (S.D. Cal. May 13, 2008) (Granting motion in limine to exclude
14
     Plaintiff’s fact witness, stating “Ms. Young may possess many years’ experience as Brighton’s
15
     president of marketing, but Plaintiff fails to establish that Ms. Young has ‘knowledge, skill,
16
     experience, training, or education’ sufficient to qualify her to offer expert testimony
17
     regarding consumer perception or the likelihood of confusion between Plaintiff’s and Defendant’s
18
     products”); In re C2R Glob. Mfg., Inc., No. 18-30182-BEH, 2021 WL 1347193, at *1 (Bankr. E.D.
19
     Wis. Mar. 30, 2021) (In a Lanham Act claim against debtor, claimant’s CEO’s experience in the
20
     drug disposal and deactivation industry did not qualify him to offer reliable expert testimony on
21
     consumer perceptions); Starbucks Corp. v. Lundberg, No. 02-948-HA, 2005 U.S. Dist. LEXIS
22
     46167, at *15 (D. Or. May 25, 2005) (“Although Jensen may have specialized knowledge about the
23
     coffee business in general, she does not purport to be an expert in consumer perceptions of
24
     trademarks”). Consumer confusion is the realm of experts, who generally present their results in
25
     survey form after analyzing numerous datapoints and controlling for error. Mr. Sugarman’s
26
     anecdotal personal experience is not sufficient based on facts or data, subject to reliable principles
27
     and methods, and does not assist the trier of fact determine any fact at issue by asserting a legal
28

                                                      -4-
          LDI’S MOTION IN LIMINE TO EXCLUDE TESTIMONY REGARDING CONSUMER PERCEPTION
           Case 5:22-cv-06483-PCP Document 93 Filed 05/13/24 Page 5 of 7



 1   conclusion. Accordingly, his testimony regarding consumer confusion and likelihood of confusion

 2   should be excluded, along with any purported testimony offered by Plaintiff’s other fact witnesses.

 3          B. Plaintiff’s Fact Witnesses Lack Personal Knowledge.

 4          A fact witness may only testify at trial if “the witness has personal knowledge of the

 5   matter.” F.R.E. 602. Mr. Sugarman admits in his testimony that he has no personal knowledge of

 6   instances of consumer confusion, stating “I haven’t had any specific complaints,” Sugarman Dep.,

 7   157:7 and “I personally have never seen a complaint like that,” Sugarman Dep., 157:21-22.

 8   Pursuant to FRE 901, Plaintiff is thus unable to authenticate any proposed evidence regarding Mr.

 9   Sugarman’s alleged Google searches and alleged consumer perception of others regarding those

10   searches. See Solofill, LLC v. Rivera, No. CV 17-02956 SJO (AJWx), 2018 U.S. Dist. LEXIS

11   116848, at *14 (C.D. Cal. May 16, 2018) (“Testimony regarding consumer perception lies, by

12   definition, outside of the scope of any one witness’ personal knowledge and is therefore not proper

13   for a lay witness”). Accordingly, Mr. Sugarman should also be excluded from offering any

14   testimony on consumer perception or confusion because he lacks personal knowledge of any

15   instances of alleged confusion.

16          C. Any Testimony Regarding Consumer Perception Would be Hearsay.

17          Pursuant to FRE 802, hearsay is not admissible unless there is an applicable exception.

18   Plaintiff seeks to admit the testimony of Mr. Sugarman who will purportedly testify to Plaintiff’s

19   customers’ actual confusion regarding the source of LDI’s products. LDI seeks to additionally

20   exclude the testimony as inadmissible hearsay. LDI notes that Plaintiff has no corroborating

21   documentation or specific details regarding the alleged perception of consumers, their identities,

22   when the alleged confusion may have occurred, exactly what was perceived or what the alleged

23   consumers said, what they were confused about, and whether they were actual customers of

24   Plaintiff. Plaintiff’s hearsay statements regarding what consumers may have perceived cannot be

25   used to prove actual confusion. Icon Enterprises Int’l, Inc. v. Am. Prod. Co., No. CV 04-1240 SVW

26   PLAX, 2004 WL 5644805, at *17 (C.D. Cal. Oct. 7, 2004) (collecting cases and excluding

27   Plaintiff’s proposed testimony regarding statements received by consumers as hearsay); see also

28   Matrix Motor Co., Inc. v. Toyota Motor Corp., 290 F. Supp. 2d 1083, 1093-94 (C.D. Cal. 2003)


                                                     -5-
          LDI’S MOTION IN LIMINE TO EXCLUDE TESTIMONY REGARDING CONSUMER PERCEPTION
Case 5:22-cv-06483-PCP Document 93 Filed 05/13/24 Page 6 of 7
            Case 5:22-cv-06483-PCP Document 93 Filed 05/13/24 Page 7 of 7



 1
                                          CERTIFICATE OF SERVICE
 2
             I hereby certify that on the May 13, 2024, I caused the electronic filing of the foregoing
 3
     document, through the CM/ECF system. The aforementioned document will be sent electronically to the
 4

 5   registered participants as identified on the Notice of Electronic Filing and paper copies will be sent to

 6   those indicated as non-registered participants.

 7                                                                   By: /s/ Manon Burns
                                                                             Manon Burns
 8

 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26
27

28

                                                        -7-
          LDI’S MOTION IN LIMINE TO EXCLUDE TESTIMONY REGARDING CONSUMER PERCEPTION
